 

 

 

© AO-91 (Rev: FIA) Criminal: ‘Complaint

 

“Vase 2. 20-Cl-UUS

 

 

 

 

 

UNITED STATES DISTRICT COURT
for the
+ ig States Courts —
Southern District of Texas suites istic of Texas
United States. of America ) ;
v. ) MAY 96 2020
a ge ROA nb wh pw Case No. C-20-1188M a
John Charlie KOFRON, aka “Jay C’ } David J. Bradley, Clerk af Court
)
)
)
Deferidanit(s).
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
‘On or about the-date(s) of _May 25,2020 _inthecountyof __-—ssNueces._sintthe
-Southem District of _.._Texas.__.._., the defendant(s) violated:
| Code. Section — Offense Description .
| 21 U.S.C. § 844 (a)(1) Knowingly, intentionally and unlawfully possessed: with the intent:t6 distribute

a controlled. usbstance in Schedule I: of the Controlled Substance Act of
1970; to wit: 63.grams, approximate gross weight, of.crack cocaine:

This criminal complaint is based on these facts:

See'Attachment A.

at €ontinued.on the attached sheet.

  

Complainant § signature
_Andy Trevino, Task Force Officer

 

 

 

 

| Submitted by. reliable electronic means, sworn to, signature "Printed name:and title
attested tslephonically per. Fed. R.Crim.P, 4.1, and probable
| cause found:
|
| .
| Date: May 26, 2020

 

 

ald Judge 's signature
City and state: Corpus Christi, Texas Jub K, Hampton.U.S. “Magistrate, Judge
a = ee SS een — Fe ~

 

 
 

 

 

 

=CI- U ! D-PagS 2 UTS

“ATTACHMENT “A”
KOFRON, John Charlie, aka “Jay C”

On May 20, 2020, United States Magistrate dudge Julie Hampton
signed a Federal Search Warrant for the residence of John KOFRON
who resides in Corpus Christi, Texas.

On May 25, 2020, Agents of the DEA Corpus Christi Resident
Office established surveillance in the 4000 block of Teak Street
in Corpus Christi, Texas. During surveillance efforts, Agents
observed a Chevrolet Tahoe leave the residence of KOFRON. Agents
observed that the vehicle was occupied by KOFRON, who was the
driver, and a passenger hereafter referred to as Target 2.

Agents followed the Tahoe to the area of Gollihar Road and

Kostoryz road, where at which time the vehicle was stopped by a

Marked Corpus Christi Police Department unit. KOFRON and Target

2 were detained and escorted by Agents to KOFRON’S residence, in
the 4000 block of Teak Street.

Upon arrival at KOFRON’S residence, Agents executed the search
warrant and cleared the residence for officer safety purposes.
Once cleared, Agents began a systematic search of the residence.

During the search, Agents discovered approximately grams. 453 of
marijuana, 70 grams of cocaine, and 63 grams of crack cocaine.
Agents also discovered a pistol in the master bedroom of the
residence.

KOFRON was read his Miranda Warning by SA Stewart as witnessed
by TFO Hemping. KOFRON acknowledged that he understood his
rights by signing the MIRANDA form and agreéd to answer
questions.

KOFRON stated that the narcotics found in and outside the
residence belonged to KOFRON. KOFRON was asked a series of
questions but stated that he did not want to make any further
statements regarding the narcotics found.

KOFRON was subsequently transferred to the Coastal Bend

Detention Center by TFO’s Hemping and TFO Martinez for overnight
detention. Target 2 was transported to the Nueces County Jail by
the Corpus Christi Police Department on state narcotics charges.

AUSA Lance Watt authorized Federal prosecution of KOFRON.

Distribution may be inferred from the amount of crack cocaine
seized.

 

 

 

 

 
 

 

 

Case 2:20-Cr-00s45_ Document I Fied on Us/Z67201In TXSD Page sor 3

 
  

 
 

f¥ R. Trevino,
Task Force Officer, DEA

Submitted by reliable electronic means, sworn to, signature
attested telephonically per Fed.R.Crim.P 4.1., and probable
cause found:

pate: May 26, 2020
City and State: Corpus Christi, Texas

 

  

 

Table ap] Hampton, 9-S- Magistrate Judge

 

 

 

 

 
